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                                    ATTACHMENT A

                        Search Warrant Cases to be Unrestricted
                          Criminal Case No. 21-cr-00014-PAB

           CASE NO.                                  TARGET
      19-sw-06082-NYW         Historical Cell Tower Site Information/Location Data

      19-sw-06177-MEH         T-Mobile Cell Phones: (720) 481-6749, (720) 709-0588
      19-sw-06178-MEH         Verizon Cell Phone: (303) 241-6126
      20-sw-00663-KLM         Sprint Cell Phone: (787) 988-9344
      20-sw-00231-STV         Verizon Cell Phone: (281) 409-9818

      20-sw-00061-SKC         Premises: Crowne Plaza Denver 1450 Glenarm Place.,
                              Denver, Colorado 80202
      19-sw-06209-STV         2015 Nissan Pathfinder: CO License Plate: CVD251
                              VIN Number: 5N1AR2MN1FC687424
      20-sw-00346-NRN         Black 2014 Nissan Maxima: Texas License Plate
                              KMY7221, VIN Number: 1N4AA5AP5EC475844
      20-sw-00327-NRN         Precise Location Information and Date/GPS Information
                              on a Cellular Telephone Assigned Call Number
                              (281) 733-9616
      20-sw-00306-NRN         Precise Location Information and Date/GPS Information
                              on a Cellular Telephone Assigned Call Number
                              (281) 733-9616
      20-sw-00293-MEH         Black 2014 Nissan Maxima: Texas License Plate:
                              KMY7221; VIN Number: 1N4AA5AP5EC475844
      21-sw-00687-MEH         A yellow Apple iPhone with an unknown serial number
                              and an unknown IMEI number (hereinafter and in
                              Attachment B the “Device”), currently being stored in
                              the secure evidence vault at the FBI Rocky Mountain
                              Safe Streets Task Force office at 4624 Central Park
                              Blvd., Suite 300, Denver, Colorado, 80238)
      21-sw-00685-MEH         Jimmy Garrison: for DNA evidence through buccal
                              swabs, also known as saliva swabs
